                                          Case 4:18-cv-07645-SBA Document 17 Filed 02/20/19 Page 1 of 3




                                   1
                                   2
                                                                UNITED STATES DISTRICT COURT
                                   3
                                                               NORTHERN DISTRICT OF CALIFORNIA
                                   4                                 OAKLAND DIVISION
                                   5
                                        SHAWN D. SHARP,
                                   6                                                    Case No. 18-cv-07645-SBA
                                                      Plaintiff,
                                   7
                                                v.
                                                                                        CASE MANAGEMENT SCHEDULING
                                   8                                                    ORDER FOR REASSIGNED CIVIL
                                        MONEYKEY -CA, INC.,
                                   9                                                    CASE
                                                      Defendant.
                                  10
                                  11          This action having been reassigned to the Honorable Saundra Brown Armstrong,
                                  12          IT IS ORDERED that this action is assigned to the Case Management Program and
Northern District of California
 United States District Court




                                  13   shall be governed by Civil L.R. 16-2. The dates listed in the Order Setting Initial Case
                                  14   Management Conference remain in effect except that the initial Case Management
                                  15   Conference is rescheduled for March 20, 2019 at 2:30 P.M., via telephone. A joint case
                                  16   management conference statement is due 7 days prior.
                                  17          Plaintiff's counsel is to set up the conference call with all the parties on the line and
                                  18   call chambers at (510) 879-3550. (No party shall contact chambers directly without prior
                                  19   authorization of the court.)
                                  20          Plaintiff(s) is directed to serve a copy of this Order at once on all parties to this
                                  21   action not enrolled in the e-filing program in accordance with the provisions of Rule 5 of
                                  22   the Federal Rules of Civil Procedure. Following service, the party causing the service
                                  23   shall file a certificate of service with the Clerk of Court.
                                  24   Dated: February 20, 2019
                                  25                                                   ____________________________________
                                                                                       SAUNDRA BROWN ARMSTRONG
                                  26                                                   United States District Judge
                                  27
                                  28
                                          Case 4:18-cv-07645-SBA Document 17 Filed 02/20/19 Page 2 of 3




                                   1                                  STANDING ORDER - CIVIL
                                                           SENIOR U.S. DISTRICT JUDGE SAUNDRA BROWN ARMSTRONG
                                   2                                      EFFECTIVE OCTOBER 1, 2018
                                   3
                                   4           1.     Conformity to Rules. Parties shall follow the Federal Rules of Civil Procedure,
                                       the Civil Local Rules, and the General Orders of the Northern District of California, except as
                                   5   superseded by these Standing Orders. Any failure to comply with any of the rules and orders may
                                       be deemed sufficient grounds for monetary sanctions, dismissal, entry of default judgment, or
                                   6   other appropriate sanctions.

                                   7          2.      Schedule.

                                   8                  a.      Civil law and motion calendar is held on the second Wednesday of each
                                                              month, beginning at 2:00 p.m. Hearings in civil matters will take place at
                                   9                          the U.S. District Court located at 1301 Clay St., Oakland, California.
                                                              Please consult the calendar for the assigned courtroom.
                                  10                  b.      Civil case management conferences are conducted telephonically, and held
                                  11                          on Thursdays and the 1st, 3rd and 5th Wednesdays, beginning at 2:30 p.m.

                                  12                  c.      Trial days are Monday through Friday, from 10 a.m. to 3:30 p.m.
Northern District of California
 United States District Court




                                  13           3.      Civil Motion Hearing Dates. The Court does not reserve hearing dates. Parties
                                       are directed to review the Court’s calendar at https://cand.uscourts.gov/sba to determine the next
                                  14   available hearing date. Motions may be reset as the Court’s calendar requires, or may be taken
                                       under submission without a hearing. Parties are advised to check the Court’s website to confirm
                                  15   whether their matter is on calendar.

                                  16          4.     Meet and Confer Requirement. All parties shall meet and confer before filing
                                       any motion or other non-stipulated request. Any motion or request shall include a certification,
                                  17   which may be submitted separately or included in the body of the document, that the parties have
                                       complied with this meet and confer requirement. The Court may disregard and/or strike any
                                  18   papers submitted that do not comply with this rule.

                                  19           5.      Page Limits. All noticed civil motions (other than motions for summary
                                       judgment) and any opposition thereto, shall not exceed fifteen (15) pages in length, exclusive of
                                  20   the table of contents, table of authorities, exhibits and declarations, if required. Reply briefs may
                                       not exceed ten (10) pages in length. Motions for summary judgment are subject to the page limits
                                  21   set forth in Civil Local Rule 7.

                                  22          6.       Summary Judgment Motions. Parties are limited to filing one motion for
                                       summary judgment. Any party wishing to exceed this limit must request leave of Court. Separate
                                  23   statements of undisputed facts will not be considered. Joint statements of undisputed facts are not
                                       required, but are strongly encouraged.
                                  24           7.     Failure to File Opposition. The failure of the opposing party to file a timely
                                  25   response to any motion or request may be construed as consent to the granting of the relief sought
                                       in the motion or request.
                                  26           8.      Non-Compliant Papers. Any pleading or brief sought to be filed with the Court
                                  27   after the required time, in an improper manner or form, and/or which is not authorized by the
                                       Federal Rules of Civil Procedure, Local Rules or order of this Court, shall not be received or
                                  28   considered and may be stricken. Any attorney in violation of such requirements may be subject to
                                       other sanctions. Civil L.R. 1-4.
                                                                                         2
                                          Case 4:18-cv-07645-SBA Document 17 Filed 02/20/19 Page 3 of 3



                                               9.     Proposed Orders. Each party filing or opposing a motion shall also serve and file
                                   1   a proposed order which sets forth the relief requested and a short statement of the rationale of
                                       decision, including citation to authority. A soft copy (i.e., Word document) of the proposed order
                                   2   shall also be emailed to SBApo@cand.uscourts.gov.
                                   3           10.     Case Management Conference Statement. A joint case management statement
                                       must be filed no later than seven days before the case management conference date. The
                                   4   statement must include all elements required in the “Standing Order for All Judges of the Northern
                                       District of California – Contents of Joint Case Management Statement.” See Civ. L.R. 16-9. In
                                   5   cases involving pro se litigants, parties shall make reasonable efforts to file a joint statement; if,
                                       after due diligence, agreement cannot be reached, the parties may file separate statements not to
                                   6   exceed seven (7) pages each. Unless proceeding pro se, each party shall be represented at the
                                       conference by counsel with full and complete authority to address all of the matters referred to in:
                                   7   (a) Federal Rules of Civil Procedure 16(c) and 26(f); and (b) the “Standing Order for All Judges of
                                       the Northern District of California – Contents of Joint Case Management Statement.” Counsel
                                   8   also must have full and complete authority to enter stipulations and make admissions.
                                   9          11.     Chambers Copies. A courtesy copy of all documents filed, whether electronically
                                       or manually, shall be submitted to the Clerk’s Office in an envelope marked with the case number
                                  10   and “SBA Chambers Copy” no later than the time prescribed by Civil Local Rule 5-1(e)(7).
                                       Exhibits to declarations must be tabbed. Voluminous filings shall be submitted in tabbed and
                                  11   indexed binders, and may be accompanied by a CD-ROM or USB drive, where appropriate.
                                  12
Northern District of California




                                               12.     Discovery Motions. All discovery disputes will be referred to a Magistrate Judge
 United States District Court




                                       of this Court. If your case has not yet been referred to a Magistrate Judge for discovery matters,
                                  13   file your motion leaving the date and time of the hearing blank. Once a referral has been made,
                                       the assigned Magistrate Judge will set the date and time of any hearing.
                                  14
                                  15          IT IS SO ORDERED.
                                                                                             ______________________________
                                  16
                                                                                             SAUNDRA BROWN ARMSTRONG
                                  17                                                         Senior United States District Judge

                                  18
                                  19
                                  20
                                  21
                                  22
                                  23
                                  24
                                  25
                                  26
                                  27
                                  28
                                                                                         3
